                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 159 Filed 05/18/21 Page 1 of 5 Page ID #:3341



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                                                                                                                      SMART KING LTD. and Defendant and
                                                                                                                  9   Counterclaimant FARADAY&FUTURE INC.
                                                                                                                 10
                                                                                                                                           UNITED STATES DISTRICT COURT
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                                                                                                                                          CENTRAL DISTRICT OF CALIFORNIA
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                                                                                                                      HONG LIU,                                Case No. 2:20-cv-08035-SVW-JPR
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                                                                                                                                     Plaintiff,               The Honorable Stephen V. Wilson
                                                                                                                 16
                                                                                                                             v.                               JOINT STIPULATION RE
                                                                                                                 17                                           DISCOVERY AND PRE-TRIAL
                                                                                                                      FARADAY&FUTURE INC.,                    DATES
                                                                                                                 18   SMART KING LTD., JIAWEI
                                                                                                                      WANG, and CHAOYING DENG,
                                                                                                                 19
                                                                                                                                     Defendants.
                                                                                                                 20
                                                                                                                 21 AND RELATED COUNTERCLAIM
                                                                                                                 22
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                                                                                                                      #116024714v1
                                                                                                                                     JOINT STIPULATION RE DISCOVERY AND PRE-TRIAL DATES
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                                                                                                                  1          Pursuant to the Court’s Civil Trial Preparation Order dated February 25, 2021
                                                                                                                  2   [Dkt. No. 87] (the “Trial Preparation Order”), Defendants Faraday&Future Inc.,
                                                                                                                  3   and Smart King Ltd. and Plaintiff Henry Liu (collectively, the “Parties”), hereby
                                                                                                                  4   submit the following stipulation regarding certain discovery and pre-trial dates:
                                                                                                                  5          WHEREAS, the Trial Preparation Order vacated a previously scheduled status
                                                                                                                  6   conference and serves as this case’s scheduling order under Rule16(b) of the Federal
                                                                                                                  7   Rules of Civil Procedure (“Federal Rules”);
                                                                                                                  8          WHEREAS, the Trial Preparation Order was entered on February 25, 2021
                                                                                                                  9   and set trial for June 8, 2021;
                                                                                                                 10          WHEREAS, the Trial Preparation Order ordered the parties to begin discovery
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                                                                                                                 11   following that order’s issuance and to conduct discovery in accord with the Federal
                                                                                                                 12   Rules to the fullest extent possible;
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                                                                                                                 13          WHEREAS, the Trial Preparation Order invited the parties to file a stipulation
                                                                                                                 14   to adjust discovery deadlines as necessary;
                                                                                                                 15          WHEREAS, the Parties previously agreed that certain discovery deadlines set
                                                                                                                 16   by the Federal Rules required adjustment; and
                                                                                                                 17          WHEREAS, the Parties, through their respective attorneys of record,
                                                                                                                 18   previously stipulated and agreed to the continuance of certain dates which were
                                                                                                                 19   entered as an Order of the Court [Dkt. No. 96];
                                                                                                                 20          WHEREAS, on April 26, 2021, Defendants filed their Notice of Motion and
                                                                                                                 21   Motion for Summary Judgment, or, In the Alternative, Partial Summary Judgment,
                                                                                                                 22   of Plaintiff Hong Liu’s Complaint [Dkt. No. 131] (“Defendants’ Summary
                                                                                                                 23   Judgment Motion”) and a hearing thereon was set for May 24, 2021;
                                                                                                                 24
                                                                                                                             WHEREAS, on April 29, 2021, the Court ordered that Plaintiff’s opposition
                                                                                                                 25
                                                                                                                      to Defendants Summary Judgment Motion be filed and served no later than May 12,
                                                                                                                 26
                                                                                                                      2021, and that Defendants’ reply in support of that motion be filed and served no
                                                                                                                 27
                                                                                                                      later than May 19, 2021 [Dkt. No. 141];
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                                                                                                                                       JOINT STIPULATION RE DISCOVERY AND PRE-TRIAL DATES
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                                                                                                                  1          WHEREAS, on May 7, 2021, Plaintiff filed an Ex Parte Application to Clarify
                                                                                                                  2   the Court’s May 3, 2021 Order and Related Relief [Dkt. No. 147];
                                                                                                                  3          WHEREAS, on May 7, 2021, the Court ordered that depositions be continued
                                                                                                                  4   by one week and extended all deadlines in the case by one week until Judge
                                                                                                                  5   Rosenbluth had an opportunity to rule on Plaintiff’s May 7, 2021 Ex Parte
                                                                                                                  6   Application or indicated that more time was required to consider the issues, including
                                                                                                                  7   the deadlines for briefing and hearing of Defendants’ Summary Judgment Motion
                                                                                                                  8   and the trial date [Dkt. No. 148];
                                                                                                                  9          WHEREAS, on May 10, 2021, the Court, on its own motion, continued trial
                                                                                                                 10   to July 27, 2021 and set a Pretrial Conference for July 19, 2021 [Dkt. No. 150];
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                                                                                                                 11          WHEREAS, on May 10, 2021, the Court further ordered that the hearing on
                                                                                                                 12   Defendants’ Summary Judgment Motion be heard on June 1, 2021 at 1:30 p.m. [Dkt.
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                                                                                                                 13   No. 151];
                                                                                                                 14          WHEREAS, on May 12, 2021, Judge Rosenbluth entered an Order denying
                                                                                                                 15   Plaintiff’s May 7, 2021 Ex Parte Application but ordering Defendants to provide
                                                                                                                 16   Plaintiff no later than May 19, 2021 with a declaration stating that the email accounts
                                                                                                                 17   of Bob Ye and Sheryl Skibbe have been searched and that no documents concerning
                                                                                                                 18   Plaintiff’s termination have been located or, if such documents do exist, that they are
                                                                                                                 19   simultaneously being produced to Plaintiff [Dkt. No. 153];
                                                                                                                 20          WHEREAS, the Parties now agree that certain previously agreed-upon
                                                                                                                 21   discovery deadlines require adjustment (the “Party Discovery Dates”);
                                                                                                                 22          WHEREAS, the Parties further agree to abide by the Party Discovery Dates
                                                                                                                 23   set forth below and agree to waive any objection based on timeliness, including but
                                                                                                                 24   not limited to, with respect to admissibility, to any Party discovery taken in
                                                                                                                 25   accordance with the Party Discovery Dates set forth below;
                                                                                                                 26          WHEREAS, the current motion cutoff ordered by the Court is May 18, 2021;
                                                                                                                 27          WHEREAS, Plaintiff has notified Defendant that he will be filing a Cross
                                                                                                                 28
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                                                                                                                                       JOINT STIPULATION RE DISCOVERY AND PRE-TRIAL DATES
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 159 Filed 05/18/21 Page 4 of 5 Page ID #:3344



                                                                                                                  1   Motion for Summary Judgment;
                                                                                                                  2            WHEREAS, due to the May 31, 2021 Memorial Day holiday, as well as at
                                                                                                                  3   least six depositions currently expected to take place between May 24-28, 2021, the
                                                                                                                  4   Parties agree to the deadlines set forth below with respect to Plaintiff’s Cross Motion
                                                                                                                  5   for Summary Judgment (the “Motion Dates”) and respectfully request that the Court
                                                                                                                  6   enter an order thereon;
                                                                                                                  7            THEREFORE, the Parties stipulate and agree to abide by the following Party
                                                                                                                  8   Discovery Dates:
                                                                                                                  9
                                                                                                                                        Event                                  Deadline
                                                                                                                 10    Fact Discovery Cut-Off                         May 28, 2021
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                                                                                                                       Last Day to Serve Initial Expert Reports       June 4, 2021
                                                                                                                 11
                                                                                                                       Last Day to Serve Rebuttal Expert              June 11, 2021
                                                                                                                 12    Reports
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                                                                                                                       Expert Discovery Cut-Off                       June 25, 2021
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                                                                                                                 14
                                                                                                                 15            FURTHERMORE, the Parties stipulate and agree to the following Motion

                                                                                                                 16   Dates:

                                                                                                                 17
                                                                                                                                         Event                                Deadline
                                                                                                                 18    Last Day to File and Serve Plaintiff’s         May 19, 2021
                                                                                                                 19    Cross Motion for Summary Judgment
                                                                                                                       Last Day to File and Serve Defendants’         June 3, 2021
                                                                                                                 20
                                                                                                                       Opposition to Cross Motion for
                                                                                                                 21    Summary Judgment
                                                                                                                       Last Day to File and Serve Plaintiff’s         June 10, 2021
                                                                                                                 22
                                                                                                                       Reply in Support of Cross Motion for
                                                                                                                 23    Summary Judgment
                                                                                                                       Hearing on Plaintiff’s Cross Motion for        June 21, 2021
                                                                                                                 24
                                                                                                                       Summary Judgment
                                                                                                                 25    Daubert and in limine motion deadline          June 28, 2021
                                                                                                                 26            All other dates and deadlines previously ordered or otherwise set shall remain
                                                                                                                 27   unchanged by this Stipulation and/or any Order thereon.
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                                                                                                                  1
                                                                                                                      Dated: May 17, 2021                          TROUTMAN PEPPER HAMILTON
                                                                                                                  2                                                SANDERS LLP
                                                                                                                  3
                                                                                                                                                                   By /s/ Kevin A. Crisp
                                                                                                                  4                                                  Kevin A. Crisp
                                                                                                                  5                                                    Attorneys for Defendants
                                                                                                                                                                       SMART KING LTD.and Defendant
                                                                                                                  6                                                    and Counterclaimant
                                                                                                                                                                       FARADAY&FUTURE INC.
                                                                                                                  7
                                                                                                                      Dated: May 17, 2021                          SEIDEN LAW GROUP LLP
                                                                                                                  8
                                                                                                                  9                                                By: /s/ Jake Nachmani
                                                                                                                                                                      Jake Nachmani
                                                                                                                 10
T ROUTMAN P EPPER H AMILTON S ANDERS LLP




                                                                                                                                                                        Attorneys for Plaintiff
                                                                                                                 11                                                     HONG LIU
                                                                                                                 12
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                                                                                                                                                         ATTESTATION
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                                                                                                                 13          Pursuant to L.R. 5-4.3.4, I hereby attest that all other signatories listed, and
                                                                                                                 14   on whose behalf the filing is submitted, concur in the filing’s content and have
                                                                                                                 15   authorized the filing.
                                                                                                                 16
                                                                                                                                                                         /s/ Kevin A. Crisp
                                                                                                                 17                                                     Kevin A. Crisp
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                                                                                                                                        JOINT STIPULATION RE DISCOVERY AND PRE-TRIAL DATES
